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  Apply for the withdrawal of the lawsuit and the cancellation of
                                                                                            JC
                 the temporary restraining order      12/20/2023
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My name is Shenlu Sirui, and I am from China.



I have recently received a lawsuit from Greer, Burns & Crain, Case No.

23-cv-14324.I am the owner of FunnyToysUS on TEMU.COM, listed as the 106th

entry on the list of defendants they provided. My corresponding email is

93621538@qq.com, and they have also frozen $8.5 in my PayPal account

associated with 93621538@qq.com.

According to Rule 4(f)(1) of the U.S. Federal Rules of Civil Procedure, serving

relevant documents to the defendant in accordance with the Hague Service

Convention is a fundamental right of the defendant. When dealing with foreign

individuals, the method of 'service' must comply with international agreements,

and in this case, it should adhere to local laws and international agreements.

Regarding 'service,' the only convention between China and the United States is

the Hague Service Convention. In Article 10 of the Hague Service Convention,

China has made a clear objection. Therefore, Greer, Burns & Crain's claim to

serve documents under Rule 4(f)(3) does not apply to a defendant of Chinese

nationality. Please refer to the statement at

https://assets.hcch.net/docs/6365f76b-22b3-4bac-82ea-395bf75b2254.pdf.

The following is a screenshot of the relevant content.
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I have emailed Greer, Burns & Crain twice to inform them of my address, and

they have responded to my email sent on December 12, 2023, at 8:16 PM,

confirming receipt of my inquiries. The screenshot below shows their response

to this email. However, despite this, I have not received any documents from

them that comply with the Hague Service Convention.
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Therefore, I am applying to the court to withdraw the lawsuit against me and to

lift the Temporary Restraining Order on my paypal account with

93621538@qq.com. Thank you for your attention to this matter.




                                                           Shenlu Sirui,from China

                                                                         2023-12-16
